            Case 7:19-cr-00260-DC Document 15 Filed 12/18/19 Page 1 of 2




                            UNITED STATES DISTRICT COURT                                DEC        182019
                             WESTERN DISTRICT OF TEXAS                             CLERK,     DSTRCT CLERK
                              MIDLAND-ODESSA DIVISION                              WESTERN   DIOF
                                                                                            U.S.
                                                                                                     TEXAS

                                                                                                       DEPUTY
 UNITED STATES OF AMERICA,                          CRIMINAL NO.
                     Plaintiff,                     INDICTMENT             NO19Cf.26O
 V.                                                 [Vio: 21 U.S.C. § 841(a)(1)-
                                                    Possession With Intent to
 JOHN GENE MITChELL,                                Distribute a Controlled
                                Defendant.          Substance
                                                    18 U.S.C. § 922(g)(1)
                                                    Felon in possession of a firearm]

       THE GRAND JURY CHARGES:


                            [21 U.S.C. § 841(i)(1) & 841(b)(1)(B)]

       That on or about November 21, 2019, ir the Western District of Texas, the Defendant,

                                    JOHN GENE MITCHELL,

unlawfully, knowingly, and intentionally possesed with intent to distribute a controlled substance,

which offense involved five   (5)   grams or more of actual methamphetamine, in violation of Title

21, United States Code, Sections 841(a)(1) and:841(b)(l)(B).

                                    SERIOUS DRUG FELONY

       Before the Defendant, JOhN GENE MITCHELL, committed the offense charged in this

case, the Defendant was convicted of Conspiracy to Distribute            50   grams and more of

Methamphetarnine and Attempt to Possess with Intent to Distribute 500 grams and more of a

Mixture and substance containing Methanphetamine, on or about January 12, 2006, in the District

of New Mexico in 2 :04-CR-0 313-01 3RB, a serious drug felony, for which the Defendant served

a term of imprisonment of more than 12 months, and for which the Defendant's release from any

term of imprisonment was within 15 years of the commencement of the instant offense.
             Case 7:19-cr-00260-DC Document 15 Filed 12/18/19 Page 2 of 2




                                        COUT TWO
                                     [18 U.S.0 § 922(g)!]

       Beginning on or about November 5, 20 9 and continuing until on or about November 12,

2019, in the Western District of Texas, the Def ndant,

                                   JOHN GENE MITCHELL,

knowing he had previously been convicted of a crime punishable by imprisonment for a term

exceeding one year, knowingly possessed a firearm, to wit: a Savage .22 Caliber Rifle and Ruger

.40 Caliber Handgun, and the firearms were in and affecting commerce, in violation of Title 18,

United States Code, Sections 922(g)(1) and 924(a)(2).



                                             kTRUE BILL.
                                            OrginaI signed by the
                                         foreperson of the Grand Jury




JOHN    .   BASH




Assistant United States Attorney
